                  Return to:                   County Recorder 475115
                  FREDRIKSON & BYRON PA        M t C        t
                  1133 COLLEGE DRIVE SUITE 1000 or on oun y
                                               Mandan ND 58554
                  BISMARCK ND 58501            Page 1 of 12




                          CORRECTIVE WARRANT¥ DEED

This Corrective Warranty Deed is executed and delivered for the sole purpose of
correcting certain portions of the reservation clause of that Warranty Deed dated
September 20, 2016, recorded as Document No. 473564 on September 22, 2016 in
the Office of the County Recorder, Morton County, North Dakota.

THIS INDENTURE, made this 20 th day of September, 2016, between DAVID A.
                                                                                          th
MEYER AND BRENDA K. l\lIBYER, as husband and wife, with an address of 3285 67
Street, Flasher, North Dakota 58535, GRANTOR, whether one or more, and DAKOTA
ACCESS, LLC, A DELAWARE LIMITED LIABILITY COMPANY, GRANTEE,
whether one or more, whose post office address is 1300 Main Street, Houston, Texas
77002.

        WITNESSETH, for and in consideration of the sum of One Hundred Dollars
($100.00) GRANTOR does hereby grant to the GRANTEE all of the following real
property lying and being in the County of Morton, State of North Dakota, and described
as follows, to-wit:

              See Exhibit A attached hereto (the "Real Property").

        Subject to and excepting therefrom all the oil, gas and gravel in and under and that
may be produced from the Real Property, together with the right of ingress and egress
into and therefrom, for the purpose of exploring for, developing, removing, storing,
handling, transporting and marketing the same; provided such ingress and egress does not
interfere with GRANTEE's intended use of the Real Property including, without
limitation, GRANTEE's pipeline. Additionally, GRANr'OR shall compensate
GRANTEE for any and all damages to the real and personal property owned by
GRANTEE incurred as a result of GRANTOR's exercise of any of rights hereunder,
including without limitation, gravel mining operations conducted on the Real Property
subsequent to the Closing Date. Notwithstanding any provision in this Warranty Deed to
the contrary, GRANTOR's exercise of any rights under this reservation, including,
without limitation, the mining of surface or subsurface gravel, within one thousand five
hundred and twenty five (1,525) feet of either side of the centerline of the pipeline (to be
constructed and installed on the Real Property) or within one thousand and five hundred
(1,500) feet of either side of GRANTEE's pipeline corridor easement are strictly
prohibited. The production, exploration or removal of any minerals not currently under
production, exploration or removal operations as of September 1, 2016 arc strictly
prohibited until all construction activities are concluded on the Real Property associated
with the Dakota Access Pipeline.
                                                                                   EXHIBIT

                                                                                   6
        And the GRANTOR for himself, his heirs, executors and administrators, does
covenant with the GRANTEE that he is well seized in fee of the land and premises
aforesaid and has good right to sell and convey the same in manner and form aforesaid;
that the same are free from all encumbrances, except installments of special assessments
or assessments for special improvements which have not been certified to the County
Auditor for collection, easements, declarations, covenants, reservations, conditions,
restrictions and assessment agreements of record; and the above granted lands and
premises in the quiet and peaceable possession of said GRANTEE, against all persons
lawfully claiming or to claim the whole or any part thereof, the said GRANTOR will
warrant and defend and the above granted lands and premises in the quiet and peaceable
possession of the grantee, against all persons lawfully claiming or to claim the whole or
any part thereof, the granter will warrant and defend.

WITNESS, The hand of the GRANTOR:
                                                                 !f]_/~
                                                                 David A. Meyer   ~---




STATE OF NORTH DAKOTA               )
                                   ) ss.
                                                             ~
COUNTY OF BURLEIGH                  )

                  ly,t4      Dr!'u::tv1!,ef
       On this _ _ ctay of ·N-ovem-Boc, 2016, before me personally appeared David A.
Meyer known to me to be the person described in, and who executed the within and
foregoing instrument, and severally acknowledged that the xecuted the same.

                SHAWN GRINOLDS
                    Notary Pub/le
                ~ af North Dakota
         My Commission Expires June 24, 2020


STATEOFNORTHDAKOTA                             )
                                               ) ss.
COUNTY OF BURLEIGH                             )
                      L/--1,j__        ()~C'<'!:"'1 ,k/"
       On this _/_
                /   day of ~ 2016, before me personally appeared Brenda K.
Meyer known to me to be the person described in, and who executed the within and
foregoing instrument, and severally acknowledged that the executed the same.

              SHAWN GRINOLDS
                  Notary Public                               ~ Public        . __
             State of North Dakota                         _,My Commission Expires:
       My Commission Expires June 24, 2020

                                                           -2-
I certify that the requirement for report of statement of full consideration paid does not
apply because this deed is for one of the tran ction exempted by NDCC § l l- l 8-
02.2(7)(h).



Dated:   /2 . . /</-lb
                                                LAWRENC BENDER
                                                Agent for GRANTEE
                                                Fredrikson & Byron, P.A.
                                                1133 College Drive, Suite I 000
                                                Bismarck, ND 58501




TAX STATEMENTS SHOULD BE SENT TO:
DAKOTA ACCESS, LLC
1300 Main Street
Houston, Texas 77002




                                          -3-
                                       EXHIBIT "A"

                                 LEGAL DESCRIPTION

Parcel 1

Township 134 North, Range 79 West, Morton County, North Dakota
Section 05: All XX-XXXXXXX
Section 06: Lots l through 5, SE¼NW¼, S½NE¼, NE¼SE¼
              oi-oooBCfXJ             oz-oooqooo
Parcel 2

Township 134 North, Range 80 West, Morton County, North Dakota
Section 01: Lots 1 through 4, S½NW¼, S½NE¼, SW¼, W½SE¼
  03 -Cr:iJ l000 03 -(XXJZWO 03-00DBWO
Parcel 3    0:3 -CCCfxJOC>          03 -OOdd:xXJ
Township 135 North, Range 79 West, Morton County, North Dakota
Section 28: Lot A in the SW¼ C6-0{3;DCD
Section 29: S½ 08--0{3-fOOO C6-0(35000 C6-Ol~LY'~
Section 31: SE¼, S½NE¼, SE¼NW¼, E½SW¼, Lots 3 & 4C6-DILf50CO
Section 32: NE¼, SE¼, SW¼ C8-0(5CC:OO 08-0152.000 CB 0/~(o
Section 3 3: Lot A in the NW¼, Lot A in the SW¼ l"'\o          - CXX)
                                   ag           '--'Q-Cl63Coo 68-01'--IBoOo
Parcel 4                                -0155200

The West 330 feet of Government Lot Five (5); the West 1,485 feet of Government Lot
Six (6); the South 330 feet of the West 165 feet of Government Lot Seven (7) and parts of
Government Lot Nine (9) beginning at the Southwest corner of Government Lot Nine (9),
thence East 1,155 feet, thence North parallel to the West line of said lot a distance of
330.0 feet, thence West parallel with the South line for a distance of 495 .0 feet, thence
Northwesterly to a point being 660.0 feet North and 330.0 feet East of the Southwest
comer, thence Northeasterly to a point 990.0 feet North and 660 feet East of the
Southwest comer, thence East to a point 990 feet North and 1,155 feet East of the
Southwest comer, thence North parallel to the West line of said Lot, a distance of330
feet to the North line of said Lot 9, thence West along the North line of said lot 1,155 feet
to the Northwest corner thereof, thence South along the West line thereof 1,320 feet to
the point of beginning. (Being approximately 24.7 acres, more or less); the Northwest
Quarter of the Northeast Quarter of the Southwest Quarter of the Northwest Quarter
(NW¼NE¼SW¼NW¼) bounded on the North and West sides and a line extending from
the Southwest comer to the Northeast corner thereof, being 1.25 acres; the Southwest
Quarter of the Northeast Quarter of the Southwest Quarter of the Northwest Quarter
(SW¼NE¼SW¼NW¼) bounded on the West and South sides and a line extending from
the Southeast comer to the Northwest comer thereof, being 1.25 acres; the West Half of
the Southwest Quarter of the Northwest Quarter (W½SW¼NW¼); the Southwest Quarter
of the Southwest Quarter (SW¼SW¼); the Northeast Quarter of the Southeast Quarter of
the Southwest Quarter of the Northwest Quarter (NE¼SE¼SW¼NW¼) bounded by the
West and South sides and a line extending from the Northwest comer to the Southeast
corner, 1.25 acres; the West Half of the Southeast Quarter of the Southwest Quarter of
the Northwest Quarter (W½SE¼SW¼NW¼) and the Southeast Quarter of the Southeast
Quarter of the Southwest Quarter of the Northwest Quarter (SE¼SE¼SW¼NW¼) of
Section Three (3), Township One Hundred Thirty-four (134) North, Range Seventy-nine
(79) West of the Fifth Principal Meridian in Morton County, North Dakota
                           OZ-600l000
Parcel 5

 Government Lots One (1) and Two (2), South Half of the Northeast Quarter (S½NE¼)
and Southeast Quarter (SE¼) of Section Four (4), Township One Hundred Thirty-four
(134) North, Range Seventy~nine (79) West of the Fifth Principal Meridian, Morton
County, North Dakota 02-CC03000
AND
Government Lots Three (3) and Four (4) and the S½NW¼ of Section 4, Township 134
North, Range 79 West of the Fifth Principal Meridian, Morton County, North Dakota
LESS a tract ofland more fully described as follows: Beginning at the NW comer of the
NW¼ of Section 4, thence running 208 feet and 8½ inches South, thence running 208
feet and 8½ inches East, thence running 208 feet and 8½ inches North, Thence 208 feet
and 8½ inches West to Point of Beginning, all in Township 134 North, Range 79 West of
the 5th P.M., Morton County, North Dakota 02-000L-1000
AND
SW¼ of Section Four (4), Township One Hundred Thirty-four (134) North, Range
Seventy-nine (79) West of the Fifth Principal Meridian, Morton County, North Dakota

Parcel 6
                 az- CC>C1..ooce:>
SE¼SE¼ of Section Six (6), Township One Hundred Thirty-four (134) North, Range
Seventy-nine (79) West of the Fifth Principal Meridian, Morton County, North Dakota
                 oz-0006000
Parcel 7

Southeast Quarter of the Northeast Quarter (SE¼NE¼), South Half of the Southeast
Quarter (S½SE¼), Southeast Quarter of the Southwest Quarter (SE¼SW¼) and
Northeast Quarter of the Southeast Quarter (NE¼SE¼) of Section Seven (7) Township
One Hundred Thirty-four (134) North, Range Seventy-nine (79) West of the Fifth
Principal Meridian, Morton County, North Dakota.
AND      0Z-C:Of300O OZ--0016000 02-00(8260

                                         - 2-
Northeast Quarter of the Northeast Quarter (NE¼NE¼) of Section Seven (7), Township
One Hundred Thirty-four (134) North, Range Seventy-nine (79) West of the Fifth
Principal Meridian, Morton County, North Dakota oz_ 00{3Z50

Parcel 8
            O-Z---00l7QCXJ          OZ-OOl90ro             uZ-OJ!72CO
The West Half(W½), Tract A in the Northeast Quarter (NE¼), and Tracts A and Bin the
Southeast Quarter SE¼), of Section Eight (8), Township One Hundred Thirty-four (134)
North, Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton County,
North Dakota OZ- O()l 6 ZOO                02-CXJl     8&0
Parcel 9

All of the Northeast Quarter (NE¼) lying East of Highway 1806, and All of the Southeast
Quarter (SE¼) lying East of Highway 1806 except the South Half of the Southeast
Quarter of the Southeast Quarter of the Southeast Quarter of the Southeast Quarter
(S½SE¼SE¼SE¼SE¼) of Section Eight (8), Township One Hundred Thirty-four (134)
North, Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton County,
NorthDakota      02-00(7'3{)0                 OZ-COIBcx:x::>
Parcel 10
               OZ-CC>ZOOCX)                   OZ-002.lOC()
 North Half (N½) of Section Nine (9), Township One Hundred Thirty-four (134) North,
Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton County, North
Dakota and the North Half of the Southwest Quarter (N½SW¼); the North Half of the
 South Half of the Southwest Quarter (N½S½SW¼); the West Half of the Southwest
 Quarter of the Southwest Quarter of the Southwest Quarter (W½SW¼SW¼SW¼); the
Northeast Quarter of the Southwest Quarter of the Southwest Quarter of the Southwest
Quarter (NE¼SW¼SW¼SW¼); Part of the Southeast Quarter of the Southwest Quarter
of the Southwest Quarter of the Southwest Quarter (SE¼SW¼SW¼SW¼) bounded by
the North and West sides and a line from the Southwest to the Northeast comer; the
Northeast Quarter of the Southeast Quarter of the Southwest Quarter of the Southwest
Quarter (NE¼SE¼SW¼SW¼), the North Half of the Southwest Quarter of the Southeast
Quarter of the Southwest Quarter (N½SW¼SE¼SW¼); the North Half of the Southeast
Quarter of the Southeast Quarter of the Southwest Quarter (N½SE¼SE¼SW¼); and Part
of the Southeast Quarter of the Southeast Quarter of the Southeast Quarter of the
Southwest Quarter (SE¼SE¼SE¼SW¼) bounded on the North and East sides and a line
from the Southeast to the Northwest comers; the Northwest Quarter of the Southeast
Quarter (NW¼SE¼); North Half of the Southwest Quarter of the Southeast Quarter
(N½SW¼SE¼); the North Half of the Southwest Quarter of the Southwest Quarter of the
Southeast Quarter (N½SW¼SW¼SE¼), the Southwest Quarter of the Southwest Quarter
of the Southwest Quarter of the Southeast Quarter (SW¼SW¼SW¼SE¼); Part of the
Southeast Quarter of the Southwest Quarter of the Southwest Quarter of the Southeast
 Quarter (SE¼SW¼SW¼SE¼) bounded by the North and West sides and a line Northeast
to the Southwest corners; Part of the Northwest Quarter of the Southeast Quarter of the
Southwest Quarter of the Southeast Quarter (NW¼SE¼SW¼SE¼) bounded by the North
and West sides and a line Northeast to the Southwest corners; the North Half of the
Northwest Quarter of the Southeast Quarter of the Southeast Quarter
(N½NW¼SE¼SE¼); the West Half of the Northwest Quarter of the Northeast Quarter of
the Southeast Quarter of the Southeast Quarter (W½NW¼NE¼SE¼SE¼); the West Half
of the Northeast Quarter of the Southeast Quarter (W½NE¼SE¼); the West Half of the
Southwest Quarter of the Southeast Quarter of the Northeast Quarter of the Southeast
Quarter (W½SW¼SE¼NE¼SE¼); the Northwest Quarter of the Southeast Quarter of the
Northeast Quarter of the Southeast Quarter (NW¼SE¼NE¼SE¼); the West Half of the
Northeast Quarter of the Southeast Quarter of the Northeast Quarter of the Southeast
Quarter (W½NE¼SE¼NE¼SE¼); the Northeast Quarter of the Northeast Quarter of the
Southeast Quarter (NE¼NE¼SE¼) of Section Nine (9), Township One Hundred Thirty-
four (134) North, Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton
County, North Dakota

Parcel 11

 Part of Government Lot Four ( 4) beginning at the Northwest corner of said Lot Four (4),
 thence South along the West line of Lot Four (4) to a point 330 feet North of the
 Southwest corner, thence East parallel with the South line of Lot Four (4) a distance of
 330 feet, thence South parallel with the West line 165 feet, thence East parallel with the
 South line 660 feet, thence North parallel with the West line 495 feet, thence
 Northwesterly to a point that is 990 feet North and 660 East of the Southwest comer of
 Lot Four (4), thence North parallel to the West line to a point on the North line of said
 Lot Four ( 4) that is 660 feet East of the Northwest corner thereof, thence West on the
North line 660 feet to the point of beginning; Part of Government Lot Five (5) beginning
 at the Southwest corner of Lot Five (5), thence North 495 feet thence East 660 feet,
 thence South 495 feet to the South line of said Lot thence West 660 feet to point of
 beginning; the West 1,155 feet of the North Half (N½) of Government Lot Six (6) and the
West 1,320 feet of the South Half (S½) of Lot Six (6); Part of Government Lot Seven (7)
beginning at the Northwest comer, thence South along the West line to the Southwest
corner, thence East on the South line 990 feet, thence North parallel with the West line
660 feet, thence Northwesterly to a point 330 feet South and 330 feet East of the
Northwest comer, thence North 330 feet to the North line of said Lot, thence West on the
North line 330 feet to the point of beginning; the North Half of the Northeast Quarter of
the Southwest Quarter (N½NE¼SW¼); the Southeast Quarter of the Northeast Quarter of
the Southwest Quarter (SE¼NE¼SW¼); the North Half of the Northeast Quarter of the
Southeast Quarter of the Southwest Quarter (N½NE¼SE¼SW¼); the North Half of the
South Half of the Northeast Quarter of the Southeast Quarter of the Southwest Quarter
(N½S½NE¼SE¼SW¼); Part of the Northeast Quarter of the Northwest Quarter of the
Southeast Quarter of the Southwest Quarter (NE¼NW¼SE¼SW¼) bounded by the

                                           -4-
North and East sides and a line from the Northwest to the Southeast comers; East Half of
the Southwest Quarter of the Northeast Quarter of the Southwest Quarter
(E½SW¼NE¼SW¼); the Northwest Quarter of the Southwest Quarter of the Northeast
Quarter of the Southwest Quarter (NW¼SW1/4NE¼SW¼); the Northeast Quarter of the
Northwest Quarter of the Southwest Quarter (NE¼NW¼SW¼); the East Half of the
Northwest Quarter of the of the Northwest Quarter of the Southwest Quarter
(E½NW¼NW¼SW¼); the Northwest Quarter of the Northwest Quarter of the Northwest
Quarter of the Southwest Quarter (NW¼NW¼NW¼SW¼); the North Half of the
Southwest Quarter of the Northwest Quarter of the Northwest Quarter of the Southwest
Quarter (N½SW¼NW¼NW¼SW¼); the North Half of the Southeast Quarter of the
Northwest Quarter of the Southwest Quarter (N½SE¼NW¼SW¼); the Northeast Quarter
of the Southwest Quarter of the Northwest Quarter of the Southwest Quarter
(NE¼SW¼NW¼SW¼); the North Half of the Southeast Quarter of the Southwest
Quarter of the Northwest Quarter of the Southwest Quarter (N½SE¼SW¼NW¼SW¼);
the North Half of the Southwest Quarter of the Southeast Quarter of the Northwest
Quarter of the Southwest Quarter (N½SW¼SE¼NW¼SW¼); and the West Half of the
Northwest Quarter (W½NW¼) of Section Ten (10), Township One Hundred Thirty-four
(134) North, Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton
County, North Dakota OZ- CX)         zzaco
Parcel 12
                   oz-c;csz~
 The South Half of the Southwest Quarter of the Northeast Quarter (S½SW¼NE¼); the
 Southwest Quarter of the Northwest Quarter of the Southwest Quarter of the Northeast
 Quarter (SW¼NW¼SW¼NE¼); that part of the Southeast Quarter of the Northwest
Quarter of the Southwest Quarter of the Northeast Quarter (SE¼NW¼SW¼NE¼)
bounded by the South and West sides and line diagonal from the Northwest to the
Southeast comer all in Section Seventeen (17), Township One Hundred Thirty-four (134)
North, Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton County,
North Dakota
AND                            OZ--00cQ000
West Half(W½) and the Northwest Quarter of the Northeast Quarter (NW¼NE¼) LESS
the North Half of the Northeast Quarter of the Northeast Quarter of the Southeast Quarter
of the Northwest Quarter (N½NE¼NE¼SE¼NW¼) and LESS the Northwest Quarter of
the Northeast Quarter of the Southeast Quarter of the Northwest Quarter
(NW¼NE¼SE¼NW¼) and LESS the Northeast Quarter of the Southwest Quarter of the
Northeast Quarter (NE¼SW¼NE¼) and LESS the North Half of the Northwest Quarter
of the Southwest Quarter of the Northeast Quarter (N½NW¼SW¼NE¼) and LESS the
Southeast Quarter of the Northwest Quarter of the Southwest Quarter of the Northeast
Quarter (SE¼NW¼SW¼NE¼) bounded on the North and East sides and a line extending
from the Southeast comer to the Northwest comer thereof, being 1.25 acres all of Section
Seventeen (17), Township One Hundred Thirty-four (134) North, Range Seventy-nine
(79) West of the Fifth Principal Meridian, Morton County, North Dakota

                                           -5-
Parcel 13     02 -0026000                    oz_C(:)28200
 Northwest Quarter of the Southeast Quarter (NW¼SE¼, that part of the West Half of the
Northwest Quarter of the Northeast Quarter of the Southeast Quarter
 (W½NW¼NE¼SE¼) bounded by the North and West sides thereof and a line diagonal
from the Northeast to the Southwest comer, North Half of the Northeast Quarter of the
Southwest Quarter of the Southeast Quarter (N½NE¼SW¼SE¼), that part of the South
Half of the Northeast Quarter of the Southwest Quarter of the Southeast Quarter
(S½NE¼SW¼SE¼) bounded by the North and West sides and a line diagonal from the
Northeast to the Southwest comer, Northwest Quarter of the Southwest Quarter of the
Southeast Quarter (NW¼SW¼SE¼), and that part of the Southwest Quarter of the
Southwest Quarter of the Southeast Quarter (SW¼SW¼SE¼) bounded by the North and
West sides thereof and a diagonal line from the Northeast to the Southwest comer, all in
Section Seventeen (17), Township One Hundred Thirty-four (134) North, Range
Seventy-nine (79) West of the Fifth Principal Meridian, Morton County, North Dakota,
LESS any portion of this Parcel 13 lying east of Highway 1806 which was previously
taken by the United States of America.

Parcel 14     OZ-C-031000                     oz-CD32()oo
Government Lot Four (4), Southeast Quarter of the Southwest Quarter (SE¼SW¼) and
Northwest Quarter (NW¼) of Section Eighteen (18), Township One Hundred Thirty-four
(134) North, Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton
County, North Dakota
AND
The East Half (E½) of Section Eighteen (18), Township One Hundred Thirty-four (134)
North, Range Seventy-nine (79) West of the Fifth Principal Meridian, Morton County,
North Dakota
AND
Northeast Quarter of the Southwest Quarter (NE1/4SW) and Government Lot Three (3) of
Section Eighteen (18) Township One Hundred Thirty-four (134) North, Range Seventy-
nine (79) West of the Fifth Principal Meridian, Morton County, North Dakota

Parcel 15       02-00u-!OCO
That part of Government Lot One (1) beginning at the Northwest comer thereof, thence
East to the Northeast comer thereof, thence South to the Southeast corner thereof, thence
West to a point 660 feet East of the southwest corner thereof, thence Northwesterly to the
West line of said lot to a point 330 feet North of the Southwesterly comer thereof, thence
North along the West line to the point of beginning; the Northeast Quarter of the
Northwest Quarter (NE¼NW¼); that part of Government Lot Two (2) beginning at the
Northeast corner thereof, thence West along the North line 660 feet, thence Southeasterly

                                           -6-
to a point on the East line of said Lot 660 feet South of the Northeast comer, thence
North along the East line to point of beginning; that part of Government Lot Three (3)
 beginning at the Southeast comer thereof, thence West along the South line 660 feet,
thence Northwesterly to a point along the West line 990 feet South of the Northwest
comer, thence North along the West line of the Northwest comer, thence East on the
North line to the Northeast comer, thence South on the East line to the point of
beginning. That part of Government Lot Seven (7) beginning at the Northeast corner of
said Lot, thence Southwesterly to a point on the South line of said Lot 330 feet East of
the southwest comer thereof, thence West 330 feet to the Southwest comer, thence North
along the West line to the Northwest comer, thence East along the North line to the point
of beginning; the Northwest Quarter of the Northeast Quarter (NW¼NE¼); that part of
Government Lot Eight (8) beginning at the Northwest comer of said Lot, thence East
along the North line to the Northeast comer, thence South on the East line 330 feet,
thence Southwesterly to a point beginning 1,320 feet South and 330 feet East of the
Northwest corner of said Lot, thence West to a point along the West line 1,320 feet South
of the Northwest comer, thence North on the West line to point of beginning, Section
Nineteen (19), Township One Hundred Thirty-four (134) North, Range Seventy-nine (79)
West of the f'ifth Principal Meridian, Morton County, North Dakota

Parcel 16
              OZ-0038C'Oo
That part of Government Lot One (I) of Section Twenty (20) described as beginning at
the Northwest comer of said Section Twenty (20) thence East 660 feet, thence South 165
feet, thence West 330 feet, thence South 165 feet, thence West 330 feet to the West line
of the Section, thence North 330 feet to the point of beginning, all in Section Twenty
(20), Township One Hundred Thirty-four (134) North, Range Seventy-nine (79) West of
the Fifth Principal Meridian, Morton County, North Dakota

Parcel 17
               ae,-orzqcoo C6 -Ol?-8 OC)c)
That part of the Southwest Quarter (SW¼) lying East of Highway 1806 LESS Lot A in
the SW/4 and the South Half of the Southeast Quarter (S½SE¼) of Section Twenty-eight
(28), Township One Hundred Thirty-five (135) North, Range Seventy-nine (79) West of
the Fifth Principal Meridian in Morton County, North Dakota

Parcel 18   0[3-O(5'-tOCO
Northeast Quarter (NE¼), North Half of the Southeast Quarter (N½SE¼) and Southwest
Quarter of the Southeast Quarter (SW¼SE¼) of Section Thirty-three (33), LESS the East
Half of the Northeast Quarter of the Southeast Quarter of the Northeast Quarter of the
Southeast Quarter (E½NE¼SE¼NE¼SE¼) and LESS the East Half of the Southeast
Quarter of the Northeast Quarter of the Northeast Quarter of the Southeast Quarter


                                          -7-
                C8-61870CO
(E½SE¼NE¼NE¼SE¼), Township One Hundred Thirty-five (135) North, Range
Seventy-nine (79) West of the Fifth Principal Meridian, Morton County, North Dakota
and
That part of the West Half (W½) lying East of Highway 1806 LESS Lot A in the NW/4
and LESS Lot A in the SW/4 and Southeast Quarter of the Southeast Quarter (SE¼SE¼)
of Section Thirty-three (33), Township One Hundred Thirty-five (135) North, Range
Seventy-nine (79) West of the Fifth Principal Meridian in Morton County, North Dakota

Parcel 19

The West Half of the Northwest Quarter of the Southwest Quarter of the Southwest
Quarter (W½NW¼SW¼SW¼); the South Half of the Southwest Quarter of the
Southwest Quarter of the Northwest Quarter of the Southwest Quarter
(S½SW¼SW¼NW¼SW¼); the North Half of the Northwest Quarter of the Northwest
Quarter of the Southwest Quarter (N½NW¼NW¼SW¼); the West Half of the Southeast
Quarter of the Southwest Quarter of the Southwest Quarter (W½SE¼SW¼SW¼); the
Southeast Quarter of the Northwest Quarter of the Southwest Quarter of the Southwest
Quarter (SE¼NW¼SW¼SW¼); the Southwest Quarter of the Southwest Quarter of the
Southwest Quarter (SW¼SW¼SW¼); the Northeast Quarter of the Northwest Quarter of
the Southwest Quarter (NE¼NW¼SW¼); the West Half of the West Half of the
Northwest Quarter of the Northeast Quarter of the Southwest Quarter
(W½W½NW¼NE¼SW¼); the Northeast Quarter of the Southeast Quarter of the
Northwest Quarter of the Southwest Quarter (NE¼SE¼NW¼SW¼) and the Southeast
Quarter (SE¼) of Section Thirty-four (34), Township One Hundred Thirty-five (135)
North, Range Seventy-nine (79) West of the Fifth Principal Meridian in Morton County,
North Dakota

Parcel20    03-(J)53000              03,C05Y00O 03---005Za:Q
The Northeast Quarter (NE¼) and the East Half of the Northwest Quarter (E½NW¼) of
Section Thirteen (13), Township One Hundred Thirty-four (134) North, Range Eighty
(80) West of the Fifth Principal Meridian in Morton County, North Dakota
AND
East Half of the Southeast Quarter (E½SE¼) of Section Thirteen (13), Township One
Hundred Thirty-four (134) North, Range Eighty (80) West of the Fifth Principal
Meridian, Morton County, North Dakota




                                        -8-
The legal descriptions for the attached Warranty Deed were prepared by Lawrence
Bender with the finn of Fredrikson & Byron, P.A. from descriptions obtained from
previously recorded instruments.




Dated:    !2-/t/--lb
         -------------                                  LAWRENCE BENDER
                                                        Fredrikson & Byron, P.A.
          Auditor's Office, Morion Co., ND
                                                        1133 College Drive, Suite 1000
     Delinquent Taxes and Spacial Asses:iments          Bismarck, ND 58501
      or instruments of Special Assessments,
             Paid d TrRnaf,,, Ar,,-.aoted




                          COUNTY RECORDER, MORTON COUNTY, ND                  475115
                          I cert~·fy
                                 that this Instrument was filed and record~d.
                          Carrol  c h ~ ~ Recorder Fee $72.00✓
                          sy'OAti1                          December 21, 2016 11:27:49,

                                                                              475115

                                                                      Page 12 of 12




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